                         Case 1:12-cr-00556-LTS Document 398
                                                         397 Filed 11/06/20
                                                                   11/05/20 Page 1 of 2



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                                                                      November 5, 2020

                By ECF

                The Honorable Laura Taylor Swain
                United States District Judge
                Southern District of New York
                500 Pearl Street,
                New York, New York 10007




                                            Re:   U.S. v. Soto et al, 12-cr-556 (LTS)

                Dear Judge Swain:

                       We are counsel to defendant Anibal Ramos in connection with his motion for
                compassionate release. We write to request an extension of time, until November 20, 2020, to
                provide the supplemental information requested by the Court.
                        On October 14, 2020, the Court instructed counsel to provide supplemental briefing by
                October 28, 2020 to address or clarify certain issues identified by the Court in connection with
                Mr. Ramos’s motion for compassionate release. Among these issues, the Court requested that
                counsel explain Mr. Ramos’s release plan in the event the Court grants his motion, including
                whether Mr. Ramos seeks placement in a Residential Reentry Center, where and with whom he
                plans to reside, and how he proposes to obtain financial support and continuity of medical care.
              Case 1:12-cr-00556-LTS Document 398
                                              397 Filed 11/06/20
                                                        11/05/20 Page 2 of 2


     The Honorable Laura Taylor Swain
     November 5, 2020
     Page 2

             On October 27, 2020, we requested a brief extension of time to provide this supplemental
     information. We explained that although counsel had repeatedly reached out to staff at USP
     Hazelton, where Mr. Ramos is currently incarcerated, both by phone and by email, to request a
     call with Mr. Ramos to obtain the requested information, and were told that our request had been
     sent to Mr. Ramos’s unit team and case manager, we had not received any additional follow up
     from USP Hazelton or spoken with Mr. Ramos.
             On October 28, 2020, the Court granted our request for extension of time, directed
     counsel for defendant to file the supplemental brief by November 6, 2020, and directed the
     government to submit its reply by November 16, 2020. However, notwithstanding additional
     outreach to the staff at USP Hazelton, we have received no response to our request to speak with
     our client.
             We accordingly request a second extension of time, to November 20, 2020, so that we
     can continue our outreach to the staff at USP Hazelton and confer with our client to set out a
     meaningful and well-informed release plan. We further request that the Court order the
     Executive Assistant and Mr. Ramos’s case worker at USP Hazelton to respond to our request and
     set up a call with Mr. Ramos so that we may formulate a release plan.
            The government does not oppose this request.

The requested extension is granted. Any further
response of the Government must be filed by November
30, 2020. The BOP staff at USP Hazelton, including but
not limited to the Executive Assistant and Mr. Ramos'   Respectfully submitted,
case worker, must promptly respond to counsel's request
and set a a call between Mr. Ramos and his counsel. The
Assistant United States Attorney must immediately
                                                        David B. Anders
provide a copy of this order to the Warden of USP
                                                        Michael A. Nance
Hazelton. DE# 397 resolved.
SO ORDERED.
11/06/2020
/s/ Laura Taylor Swain

     cc:    Counsel of Record (via ECF)
